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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES OF AMERICA

                 Plaintiff,

         v.                                                Case No. 09-cr-40082-JPG

  TERRANCE P. MARTIN and
  DEANDRE D. BROWN,

                 Defendants.

                                MEMORANDUM AND ORDER

        This matter comes before the Court on defendant Terrance P. Martin’s motions for

 disclosure of affidavits used to obtain search warrants in this case (Doc. 80) and for disclosure of

 Brady and Giglio information (Doc. 81). The government has responded to the second motion

 (Doc. 85).

        As a preliminary matter, the Court notes that there is no general constitutional right to

 discovery in a criminal case. Weatherford v. Bursey, 429 U.S. 545, 559 (1977); see Gray v.

 Netherland, 518 U.S. 152, 168 (1996). However, Rule 16 of the Federal Rules of Criminal

 Procedure and constitutional due process regarding exculpatory material allow criminal

 defendants limited access to information regarding the government’s case.

        The Court’s Order for Pre-Trial Discovery and Inspection (Doc. 21) instructs the parties

 to attempt to resolve discovery disputes without recourse to the Court. If the parties have tried to

 resolve their disputes and have been unable to do so, the Court allows them to file a motion for

 discovery and a brief in support of the motion within 28 days of the arraignment. Any motion

 filed with the Court must contain a statement that a discovery conference was held and that

 agreement could not be reached concerning the discovery or inspection that is the subject of the
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 motion. The defendant has not complied with this order in that he failed to include the

 statements required regarding attempts to resolve discovery disputes without recourse to the

 Court.

          Even if the defendant had met all of the technical requirements, the Court would deny the

 motion for the following reasons. To the extent that the defendant requests material required to

 be produced pursuant to Federal Rule of Criminal Procedure 16, the requests are moot in light of

 the government’s open file policy and absent an indication that the government is not complying

 with that rule. To the extent that the defendant requests material required to be produced by

 Brady v. Maryland, 373 U.S. 83 (1963), or Giglio v. United States, 405 U.S. 150 (1972), the

 government has acknowledged its continuing obligations under those cases. It has been

 repeatedly held that where the government has made assurances it will comply with Giglio and

 Brady, those assurances are sufficient. See Strickler v. Greene, 527 U.S. 263, 283 n. 23 (1999);

 see, e.g., United States v. Alex, 791 F. Supp. 723, 729 (N.D. Ill. 1992). To the extent that the

 defendant requests information beyond that required to be produced under Rule 16, Brady or

 Giglio, the request is overbroad and would be denied.

          For the foregoing reasons, the Court DENIES Martin’s motions for disclosure (Docs. 80

 & 81). Pursuant to 18 U.S.C. § 3161(h)(1)(D) and (H), the Court finds that the period from

 September 17, 2010, the date Martin filed the motions for disclosure, up to and including the

 date of this order, allows a reasonable period for prompt resolution of the motion, Henderson v.

 United States, 476 U.S. 321, 329-31 (1986), and is EXCLUDABLE under the Speedy Trial Act.

 IT IS SO ORDERED.
 DATED: October 20, 2010
                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               DISTRICT JUDGE

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